            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION


D.J.,

                         Plaintiff,     Case No. 1:19-cv-02232

v.                                      Michael L. Brown
                                        United States District Judge
Columbia at Sylvan Hills, L.P., et
al.,

                         Defendants.

________________________________/

                                  ORDER

        Plaintiff D.J. seeks a preliminary injunction preventing Defendants

Columbia at Sylvan Hills, L.P. and Columbia Residential, LLC

(collectively, “Columbia Defendants”) from evicting her from an

apartment she rents in their building. (Dkts. 5; 5-1 at 1.) The Columbia

Defendants oppose her motion. (Dkts. 16, 19.) Having considered the

evidence and arguments of counsel during two hearings the Court finds

(1) Plaintiff is likely to succeed on the merits of her claims; (2) Plaintiff

will continue to suffer irreparable injury if the injunction does not issue;

(3) the balance of the hardships favors Plaintiff; and (4) issuing the
preliminary injunction against Columbia Defendants serves the public

interest.     The Court thus grants Plaintiff’s requested preliminary

injunction.

I.   Background

     Plaintiff has been diagnosed with various mental disorders,

including schizoaffective disorder bipolar type and PTSD.    (Dkts. 3 ¶ 1;

5-3 ¶ 8.) Her mental illness impairs her ability to work and interact with

others and allows her to receive disability assistance. (Dkts. 3 ¶ 1; 5-3

¶¶ 4–5, 9–12.)

     Defendant Housing Authority of Atlanta (“AHA”) receives federal

funds from the U.S. Department of Housing and Urban Development to

provide housing to qualifying individuals and families in the City of

Atlanta.1 (Dkt. 3 ¶ 15.) AHA entered into a contract with Defendant

Columbia at Sylvan Hills, L.P. to provide assistance for persons with

special needs — like Plaintiff — at the residential multifamily project

known as Columbia at Sylvan Hills. (Dkts. 3 ¶ 16; 16-1 at 2.) Plaintiff

was homeless before she began living there in March 2013. (Dkt. 5-3



1Plaintiff has not sought preliminary injunctive relief against Defendant
Housing AHA. (Dkts. 5-1 at 1; 17 at 1.)


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¶¶ 1–2.) Defendant Columbia Residential LLC manages the apartment

where Plaintiff lives. (Dkt. 3 ¶ 17.) The agreement between AHA and

Defendant Columbia at Sylvan Hills, L.P. requires Columbia at Sylvan

Hills, L.P. to comply with all federal and state laws under the Fair

Housing Act (“FHA”), Section 504 of the Rehabilitation Act, and the

Americans’ with Disabilities Act (“ADA”). (Dkts. 3 ¶ 15; 16-1 ¶¶ 6(a), (c)–

(d).)

        Sometime in December 2017, Plaintiff stopped taking her

medications. (Dkts. 3 ¶ 3; 5-3 ¶¶ 9, 14.) In April 2018, she had a manic

episode in which she became agitated and angry with building

management after they raised her rent slightly. (Dkts. 3 ¶ 3; 5-3 ¶¶ 16–

17, 5-5 at 1.) She entered the leasing office at her apartment “in a

volatile, frightening, and disruptive manner,” yelled at staff members,

invaded their personal space, and threatened that they would pay for

their behavior. (Dkt. 5-5 at 1.) On either that day or shortly after,

Plaintiff also yelled and screamed in the parking lot for over twenty

minutes, frightening the residents in her building and resulting in the

police conducting a welfare check on her apartment. (Id.)




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     During a hearing, Defendant Columbia at Sylvan played a video of

Plaintiff’s outburst in the management office. (Dkt. 36.) It was alarming.

She stomped around the office yelling at the people working there,

speaking in tongues, preaching about god, and sometimes lunging

towards the workers or screaming at them just inches from their faces.

When she stepped outside, one of the workers locked the office door.

Plaintiff repeatedly tried to reenter the office, banging on the window and

cursing and screaming at those inside. She scared the workers. A social

worker familiar with Plaintiff’s treatment and mental illness testified

that her outbursts appeared to result from her mental illness. (Dkt. 37

at 38:24–39:10.)

     The Columbia Defendants determined Plaintiff breached her lease,

notified her of their decision to terminate the lease effective April 13,

2018, and threatened to evict her if she failed to vacate her apartment.

(Dkt. 5-5 at 1–2.) Plaintiff’s counsel asked them to accommodate her

disability by permitting her to remain a tenant. (Dkts. 5-7 at 1; 5-8 at 1.)

They held hearings on Plaintiff’s reasonable accommodation request and

extended the date at which Plaintiff needed to leave but refused to




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withdraw their notice of termination. They ordered her to leave by April

30, 2019. (Dkts. 5-6 at 1; 5-8 at 2.)

     Plaintiff sued the Columbia Defendants for allegedly violating the

FHA, Section 504 of the Rehabilitation Act, and Title II of the ADA. (Dkt.

3.) Plaintiff moved for a preliminary injunction to stop the Columbia

Defendants from evicting her.           (Dkt. 5.)   The Court conducted a

proceeding on Plaintiff’s motion and granted Plaintiff a fourteen-day

temporary restraining order preventing Columbia Defendants from

terminating her lease and evicting her. (Dkts. 20, 22, 25.) The Court

ordered supplemental briefing and then held an evidentiary hearing to

determine whether to convert the temporary restraining order into a

preliminary injunction.      (Dkts. 35, 37.)        The evidence presented

established that Plaintiff’s aggressive and disruptive behavior in April

2018 resulted from her mental disability and her failure to take certain

medically necessary medications.            (See Dkt. 37 at 22:9–16.)   The

Columbia Defendants also presented no evidence of similar outbursts




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and disruptive behavior either in the nearly five years before the April

2018 incident or in the nearly year and a half since then.2

II.   Standard of Review

      A plaintiff is entitled to preliminary injunctive relief if she shows

that (1) she has a substantial likelihood of success on the merits; (2) she

is likely to suffer irreparable injury without preliminary injunctive relief;

(3) the balance of the equities tips in her favor; and (4) issuing the

injunction is in the public interest. See Winter v. Nat. Res. Def. Council,

555 U.S. 7, 20 (2008); see also Palmer v. Braun, 287 F.3d 1325, 1329 (11th

Cir. 2002) (citing Suntrust Bank v. Houghton Mifflin Co., 268 F.3d 1257,

1265 (11th Cir. 2001)). “A preliminary injunction is an extraordinary and

drastic remedy not to be granted unless the movant clearly establishes

the burden of persuasion as to the four requisites.” ACLU of Fla., Inc. v.

Miami-Dade Cty. Sch. Bd., 557 F.3d 1177, 1198 (11th Cir. 2009).




2 The social worker testified that Plaintiff had become disruptive and
combative with her staff several times. (See Dkt. 37 at 37:24-30:18.) But,
no evidence suggests her conduct on those occasions disrupted other
tenants, scared employees, or reached the extent of the April 2018
incident. And, importantly, the Columbia Defendants do not rely on
these other incidents to either terminate her lease or refuse the requested
accommodation as unreasonable.


                                     6
III. Discussion

      Plaintiff has sufficiently shown each of the four requisite elements

and is entitled to injunctive relief.

      A.    Likelihood of Success on the Merits

      Under 24 C.F.R. § 247, Plaintiff’s tenancy may be terminated if she

materially violates a rental agreement or engages in criminal activity.

See 27 C.F.R. § 247.3(a)(1)(2). There is no evidence Plaintiff committed

a crime. And the parties have not provided her rental agreement. In its

letter terminating the lease, however, the Columbia Defendants claimed

Plaintiff violated a lease provision stating:

      DISTURBANCES – Resident agrees not to cause or allow
      occupants or guests to cause any improper or disturbing
      noises, disturbances or odors in the building or in the common
      areas at any, or to sing, play any musical instrument or car
      audio system, dance or to play any radio, stereo, television or
      other audio equipment in a manner or at a time which could
      be objectionable to other residents. . . . Disturbances or
      other activity that results in police intervention shall
      constitute a breach of the lease agreement.

(Dkt. 1-11 at 1.) After Plaintiff caused the incident in April 2018, the

apartment complex staff called the Atlanta Police Department and filed

a report. (Dkts. 5-5 at 1; 29-1 at 6, 9.)




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     Plaintiff does not challenge the Columbia Defendants’ assertion

that she violated her lease. She seeks an an accommodation based on her

disability, specifically the ability to remain in her lease while obtaining

more rigorous mental health treatment to prevent another outburst.

Plaintiff claims the Defendants’ refusal to allow this accommodation

violates the FHA, Section 504 of the Rehabilitation Act, and Title II of

the ADA.

           1.    Plaintiff’s FHA Claims

     The FHA makes it “unlawful to discriminate in the rental of, or to

otherwise make unavailable or deny, a dwelling because of a disability of

the renter or a person associated with the renter.” Hunt v. Aimco Props.,

L.P., 814 F.3d 1213, 1222 (11th Cir. 2016) (citing 42 U.S.C.

§ 3604(f)(1)(A)). Discrimination under § 3604(f) includes a “refus[al] to

make reasonable accommodations when necessary to afford the person

equal opportunity to use and enjoy a dwelling.” Bhogaita v. Altamonte

Heights Condo. Ass’n, Inc., 765 F.3d 1277, 1285 (11th Cir. 2014) (citing

§ 3604(f)(3)(B)). The FHA, however, does not require “that a dwelling be

made available to an individual whose tenancy would constitute a direct

threat to the health or safety of other individuals.” § 3604(f)(9).



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     To prevail on her failure-to-accommodate claim, Plaintiff must

prove: (1) she is disabled under the FHA; (2) she requested a reasonable

accommodation; (3) the requested accommodation was necessary to allow

her to use and enjoy her dwelling; and (4) the defendants refused to make

the accommodation.      See Hunt, 814 F.3d at 1225.       “A person has a

disability under the FHA if, among other things, [s]he has ‘a physical or

mental impairment which substantially limits one or more of [her] major

life activities.’ ” Bhogaita, 765 F.3d at 1287 (quoting 42 U.S.C. § 3602(h)).

     Defendants admit Plaintiff has a disability. (Dkts. 5-3 ¶ 8; 28-1 at

47:25–48:4.) They do not dispute Plaintiff’s claim that her behavior in

April 2018 resulted from her disability and her failure to take

medications necessary to treat her disability. Erika Parks, the Director

of Permanent Supportive Housing at HOPE Atlanta and someone

familiar with Plaintiff’s mental health, testified that she had seen the

video of Plaintiff’s outburst in the office of the apartment building and

recognized Plaintiff’s conduct as the result of her failure to take necessary

medications. (Dkt. 37 at 38:24–39:10.) Finally, Columbia Defendants

admit Plaintiff sought an accommodation necessary to allow her to use

and enjoy her dwelling and they refused that request. (Dkts. 5-4 ¶¶ 6,



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11–12, 14–15; 5-7 at 1; 5-8 at 1–2; 5-9 at 1–2.) The only issue — at least

for today — is whether the accommodation Plaintiff sought was

reasonable.

     “Whether a requested accommodation is required by law is ‘highly

fact-specific, requiring case-by-case determination.’ ” Loren v. Sasser,

309 F.3d 1296, 1302 (11th Cir. 2002) (quoting Groner v. Golden Gate

Gardens Apartments, 250 F.3d 1039, 1044 (6th Cir. 2001)).             “An

accommodation is not reasonable if it imposes undue financial and

administrative burdens on the defendant or ‘requires a fundamental

alteration in the nature of the program.’ ” Cohen v. Monroe Cty., 749 F.

App’x 855, 857 (11th Cir. 2018) (quoting Schwarz v. City of Treasure

Island, 544 F.3d 1201, 1220 (11th Cir. 2008)).

     Columbia Defendants do not explicitly argue that Plaintiff’s request

is unreasonable for either of these reasons. They argue instead that

Plaintiff has not shown that her “dangerous, threatening and disruptive

behavior . . . will not repeat itself” and that “Plaintiff requires living

arrangements and supportive services of a higher level of care than is

available at Defendants’ property.” (Dkts. 19 at 9; 29 at 5.)




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     The behavior Plaintiff exhibited in the two incidents in April 2018

was disruptive and serious. (Dkts. 29-1 at 2–3, 5–6; 29-2 at 2; 29-3 at 3;

36.) But Columbia Defendants have failed to provide evidence showing

that the direct threat exemption should apply here. Nor is Plaintiff’s

accommodation request unreasonable.

     After the April 2018 incident Plaintiff changed her mental health

treatment.     She began receiving treatment from psychologists,

psychiatrists, nurses, and other health care professionals in the

community where she resides at least three times a week through

Georgia Rehabilitation Outreach’s (“GRO”) Assistive Community

Treatment program (“ACT”).3 (Dkt. 28-1 at 43:10–45:7.) Her medical

team monitors her to make sure she takes her medications. (Id. at 45:24–



3 In her declaration, Erika Parks, Director of Permanent Supportive
Housing at HOPE Atlanta and someone who has been involved in
Plaintiff’s treatment for years opined that Plaintiff “requires living
arrangements and supportive services of a higher level of care than is
available through HOPE Atlanta and Sylvan Hills.” (Dkt. 29-3 ¶¶ 2, 9.)
At the July 17, 2019, hearing Ms. Parks testified that Plaintiff could not
obtain sufficient treatment at Sylvan Hills Apartments because she
requires clinical treatment on site. (Dkt. 37 at 34:18–36:20, 39:17–40:7.)
Ms. Parks, however, had not examined Plaintiff since she began receiving
ACT team treatment and could not say this new treatment process
cannot allow Plaintiff to remain at Sylvan Hills. (Dkt. 37 at 33:10–16,
36:23–37:15; 39:17–40:4.)


                                   11
46:15.)   Nurses administer some medications through injections and

check to see that she is taking her oral medications. (Id. at 54:25–55:13.)

Dorothy Adike, a worker at ACT who meets with Plaintiff at least once a

week, testified that the ACT medical providers have seen great

improvement in Plaintiff’s behavior and symptoms. (Id. at 42:5–21, 48:5–

49:16.) The primary purpose of this new treatment plan and increased

monitoring is to ensure Plaintiff remains on the medicine she needs to

maintain her good behavior.

     Plaintiff has lived in her apartment at Sylvan Hills for about five

years before the incident, showing that her behavior is not chronic. She

also has lived there for more than a year since the incident without a

reoccurrence, again showing her behavior is not chronic and responds to

medical care. Her continued residence without incident also supports a

finding that her requested accommodation has abated the risk she poses

to others without causing undue burden to Columbia Defendants.

     Courts have found “second chance” accommodations — that is, a

tenant’s opportunity to remain in her dwelling despite the landlord’s

disability-neutral justification for eviction — reasonable in similar cases

where the disabled individual immediately obtained treatment and



                                    12
caused no further incidents after a medication adjustment. See Super v.

J. D’Amelia & Assocs., LLC, No. 3:09cv831 (SRU), 2010 WL 3926887, at

*6–8 (D. Conn. Sept. 30, 2010) (finding plaintiff alleged sufficient facts to

“support a finding that her request to continue receiving Section 8

benefits while she sought court-ordered psychiatric care was a reasonable

accommodation”); see also Sinisgallo v. Town of Islip Hous. Auth., 865 F.

Supp. 2d 307, 342 (E.D.N.Y. 2012) (granting preliminary injunction to

mentally disabled plaintiff who attacked another tenant and later

proposed a reasonable accommodation of a probationary period to show

that adjustments to her medication would prevent her from constituting

a threat to her neighbors’ safety).       On the other hand, Courts have

refused such accommodations as unreasonable when evidence shows the

proposed corrective action will not abate the misbehavior. See Groner,

250 F.3d at 1045 (holding accommodation not reasonable when passage

of time showed corrective action insufficient to prevent tenant from

disturbing other tenants with loud outbursts); see also Andover Housing

Auth. v. Shkolnik, 443 Mass. 300, 301 (Mass. 2005) (holding

accommodation unreasonable when evidence showed tenant unwilling or

unable to cure noise problem).



                                     13
      This case is like the former and unlike the latter. Plaintiff’s track

record of years before the April 2018 outburst, her increased mental

health treatment, and her lack of any recurrence since, show that the

accommodation she seeks is reasonable. Plaintiff has shown a likelihood

of success on the merits of her claim under the FHA to obtain preliminary

injunctive relief.

            2.       Plaintiff’s ADA and Section              504    of    the
                     Rehabilitation Act Claims

      Title II of the ADA provides that “no qualified individual with a

disability shall, by reason of such disability, be excluded from

participation in or be denied the benefits of the services, programs, or

activities of a public entity, or be subjected to discrimination by any such

entity.”   42 U.S.C. § 12132.        To establish a claim of disability

discrimination under Title II of the ADA, a plaintiff must establish

“(1) that [s]he is a qualified individual with a disability; (2) that [s]he was

either excluded from participation in or denied the benefits of a public

entity’s services, programs, or activities, or was otherwise discriminated

against by the public entity; and (3) that the exclusion, denial of benefit,

or discrimination was by reason of [her] disability.” Bircoll v. Miami-

Dade Cty., 480 F.3d 1072, 1083 (11th Cir. 2007).              Except for the


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Rehabilitation Act’s federal funding requirement, “[d]iscrimination

claims under the ADA and the Rehabilitation Act are governed by the

same standards, and the two claims are generally discussed together.”

J.S., III ex rel J.S. Jr. v. Houston Cty. Bd. of Educ., 877 F.3d 979, 985

(11th Cir. 2017) (citing Cash v. Smith, 231 F.3d 1301, 1305 (11th Cir.

2000)). A failure to provide reasonable accommodations is a distinct,

actionable   theory   of   discrimination   under   the   ADA     and   the

Rehabilitation Act. See Schwarz, 544 F.3d at 1212 n.6.

     It is undisputed that Plaintiff is a qualified individual with a

disability. Plaintiff asserts and Columbia Defendants have not disputed

that they are public entities as defined under the ADA that receive

federal funding from the Department of Housing and Urban

Development to provide subsidized housing to low-income individuals.

See 42 U.S.C. § 12131(1)(B); 7 C.F.R. §§ 15b.3(f)–(g). It is also undisputed

that Columbia Defendants seek to terminate Plaintiff’s tenancy and deny

her services, programs, and activities available in the apartment

complex. Columbia Defendants also sought to exclude Plaintiff and deny

her benefits because of the behavior she displayed in April 2018 because

she did not take her medications.



                                    15
     As explained before, Plaintiff has presented evidence that she

proposed a reasonable accommodation and that Columbia Defendants

have refused to permit it. The Court finds that Plaintiff has shown a

likelihood of success on the merits of her claims under the ADA and

Rehabilitation Act for obtaining preliminary injunctive relief.

     B.    Irreparable Harm

     Plaintiff faces a threat of eviction from her housing that would

likely result in homelessness and deterioration of her mental health. (See

Dkt. 28-1 at 49:9–25.) Courts have found that the “threat of eviction and

the realistic prospect of homelessness constitute a threat of irreparable

harm and satisfy the first prong of the test for preliminary injunctive

relief.” See Sinisgallo, 865 F. Supp. 2d at 328; see also Chastain v. Nw.

Ga. Hous. Auth., No. 4:11-CV-0088-HLM, 2011 WL 5979428, at *12 (N.D.

Ga. Apr. 28, 2011) (holding threat of eviction, homelessness, and

worsening of already bad health constitute a threat of irreparable injury).

This Court agrees.

     C.    Balance of the Equities

     The Columbia Defendants argue they face potential premises

liability and “other claims” if Plaintiff fails to take her medication and



                                    16
injures someone of their property. She has lived there for six years

without harming anyone. In fact, while she threatened and intimidated

the office workers during the April 2018 event, she hurt no one. On the

other hand, Plaintiff will likely to suffer irreparable injury, including

eviction and homelessness, without an injunction.       The balance of

equities tip in her favor.

      D.   The Public Interest

      Through the FHA, ADA, and Rehabilitation Act, Congress has

declared that it is in the public interest to allow individuals with

disabilities to live on an equal footing with the non-disabled. It is not

against the public interest to enjoin discrimination against individuals

with disabilities.

IV.   Conclusion

      The Court GRANTS Plaintiff’s Motion for Preliminary Injunction

(Dkt. 5). Under Federal Rule of Civil Procedure 65, and pending the final

hearing and determination of this action, the Court ENJOINS and

RESTRAINS Defendants Columbia at Sylvan Hills, L.P. and Columbia

Residential, LLC from pursuing a lease termination or eviction against

Plaintiff. The Court ORDERS that any violation of the term(s) of this



                                   17
order will be punishable by contempt and other appropriate relief that

this Court finds just and proper.

     SO ORDERED this 25th day of July, 2019.




                                    18
